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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION

 POLARIS ENGINEERING, INC.,                 §
                                            §
         Plaintiff,                         §
                                            §
 v.                                         §
                                            §
 TEXAS INTERNATIONAL                        §         Civil Action No. 3:21-CV-00094
 TERMINALS, LTD.                            §
                                            §
         Defendant/Counter-Plaintiff/       §
         Third-Party Plaintiff,             §
                                            §
 DRL ENGINEERING, LLC and                   §
 DAVID R. LUETCHFORD,                       §
                                            §
         Defendants,                        §
                                            §
 v.                                         §
                                            §
 WESTCHESTER FIRE INSURANCE                 §
 COMPANY, GERRY OBLUDA,                     §
 MICHAEL NODIER, and POLARIS                §
 CONSTRUCTION, INC.,                        §
                                            §
         Third-Party Defendants.            §


 WESTCHESTER FIRE INSURANCE COMPANY, POLARIS ENGINEERING,
 INC., POLARIS CONSTRUCTION, INC., GERRY OBLUDA, AND MICHAEL
       NODIER’S JOINT MOTION TO CONTINUE AND MODIFY THE
                     DOCKET CONTROL ORDER

        Plaintiff Polaris Engineering, Inc. (“Polaris”) and Third-Party Defendants

Westchester Fire Insurance Company (“WFIC”), Polaris Construction, Inc. (“Polaris

Construction”), Gerard R. Obluda (“Obluda”), and Michael J. Nodier (“Nodier”) file this



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their Joint Motion to Continue and Modify the Docket Control Order and respectfully show

the Court as follows:

                                       I.
                          CERTIFICATE OF CONFERENCE

       Counsel for the parties have conferred and all parties in this case agree that a

continuance of the current docket call set for October 7, 2022, is necessary. As a result,

Texas International Terminals, Inc. (“TXIT”), DRL Engineering, LLC (“DRL”), and

David R. Luetchford (“Luetchford”) are unopposed to this Motion to the extent it seeks to

continue the current docket call. The parties, however, disagree about the length of a

continuance. As set forth below, WFIC, Polaris, Polaris Construction, Obluda, and Nodier

move the Court to continue the docket call to May 2023. TXIT, DRL, and Luetchford have

indicated they are opposed to a continuance of that long and prefer a trial in January or

February 2023. Given the parties’ agreement on the continuance, but disagreement on the

length, the parties request a conference with the Court at its earliest convenience to discuss

the length of a continuance, to the extent the Court agrees a continuance is warranted.

                                       II.
                              FACTUAL BACKGROUND

       1.     This lawsuit arises out of the design and construction of a fuel storage,

loading, and processing facility located in Galveston, Texas that is owned by TXIT. [Doc.

118, ¶ 1]. Polaris agreed to engineer, design, and construct certain facilities for TXIT under

four separate contracts: the ISBL, OSBL, OSBL Engineering, and Dock Agreement. [Doc.

118, ¶ 1]. The total value of these contracts exceeds $100 million, which relate to three

different construction projects that involve complex issues relating to crude oil processing.

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       2.     Polaris originally filed this lawsuit in state court on September 24, 2020.

[Doc. 1-3]. TXIT removed the case to federal court on October 1, 2020. [Doc. 1]. On

November 9, 2020, TXIT filed its Original Answer, Counterclaim, and Third-Party

Complaint joining WFIC to this lawsuit. [Doc. 11].

       3.     Throughout most of 2021, the case remained in the pre-discovery phase

while the Court addressed several motions. The Court granted TXIT’s Motion to Transfer

the case from the Houston to Galveston Division. [Doc. 66]. The Court also denied TXIT’s

request for a preliminary injunction concerning disputed equipment in Polaris’s possession

[Doc. 64, 72] and Polaris’s Motion to Dismiss TXIT’s Counterclaims [Doc. 81].

       4.     On September 2, 2021, the Court entered a Docket Control Order [Doc. 80],

which set a discovery deadline of July 2, 2022, a dispositive motion deadline of July 9,

2022, the rebuttal expert deadline of July 15, 2022, and a docket call on October 7, 2022

(to set trial within the following sixty (60) days). Shortly thereafter, the parties began

serving discovery. Considering the claims asserted by the parties, which relate to multiple

projects, the parties’ discovery requests have identified voluminous potentially responsive

documents.

       5.     On December 23, 2021, Polaris filed a motion seeking leave to amend its

complaint to join DRL and Luetchford to this lawsuit. [Doc. 93]. A few weeks later, on

January 13, 2022, TXIT filed a motion seeking leave to amend its pleadings to join Polaris

Construction, Obluda, and Nodier as third-party defendants. [Doc. 94].

       6.     On February 18, 2022, while those motions were pending, the parties filed

an Agreement to Extend Discovery Deadlines pursuant to section 3 of the Galveston

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District Court Rules of Practice to extend certain discovery deadlines. [Doc. 100]. More

specifically, the parties agreed to extend the deadline to: (1) produce expert reports for

parties with the burden of proof from March 4, 2022, until May 6, 2022; (2) produce

rebuttal expert reports from May 6, 2022, to July 15, 2022; and (3) complete discovery

from July 2, 2022, to September 30, 2022. [Doc. 100].

       7.     On March 7, 2022, the Court granted Polaris leave to amend its complaint

and join DRL and Luetchford as defendants in this lawsuit. [Doc. 109]. On April 18, 2022,

DRL and Luetchford appeared in the case and filed their Motion to Dismiss Polaris’ Third

Amended Complaint. [Doc. 157]. DRL and Luetchford’s Motion to Dismiss is still

pending.

       8.     Also, on March 7, 2022, the Court granted TXIT leave to amend its third-

party complaint to join Polaris Construction, Obluda, and Nodier as third-party defendants.

[Doc. 112]. On April 20, 2022, Third-Party Defendants Obluda and Nodier appeared in the

case and filed their Motion to Dismiss TXIT’s claims against them, which Polaris joined.

[Doc. 161]. Polaris Construction separately filed a Motion to Dismiss. [Doc. 154]. As of

the date of this motion, both Motions to Dismiss are still pending.

       9.     On May 23, 2022, DRL and Luetchford served their responses to Polaris’s

first set of written discovery. As of the date of this filing, DRL and Luetchford have not

yet produced documents responsive to Polaris’s requests, but it is understood those parties

are actively reviewing documents for production. TXIT has not yet served discovery on

Obluda or Nodier.



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       10.    To date, the parties have collectively produced over one million pages of

documents in this matter. More specifically, Polaris has produced more than 250,000

documents and over 659,000 pages. Polaris’ latest production occurred on June 8, 2022,

and totaled approximately 18,000 documents. Polaris anticipates further productions, one

of which will include at least 20,000 more documents. TXIT has produced more than

114,000 documents and over 433,000 pages. TXIT’s latest production occurred on May

17, 2022, and totaled over 27,000 documents. Polaris and WFIC understand that TXIT is

still reviewing and preparing documents for an additional production. Additionally, Polaris

served numerous third-party subpoenas. Some of those parties are still in the process of

gathering documents for production.

       11.    Pursuant to the parties’ Agreement to Extend Discovery Deadlines, Polaris

and TXIT made an initial disclosure of experts on May 6, 2022. In total, Polaris and TXIT

collectively identified six retained testifying experts and numerous non-retained testifying

expert witnesses in relation to affirmative claims. The swing in damages being claimed by

the respective parties based on the initial expert opinions is more than $80 million. The

parties have also identified numerous individuals with discoverable information (TXIT

alone identified more than fifty). The parties have not yet conducted any depositions.

       12.    As set forth in the parties’ Joint Discovery/Case Management Plan, the

parties believe that mediation will be beneficial in this case. Given the complexity of the

issues, the parties have discussed and agreed upon Steve Nelson to mediate this case. Mr.

Nelson is a well-known mediator of construction disputes with significant experience in

complex multi-party litigation. With the understanding that the docket call is currently set

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for October 2022, the parties have scheduled a mediation with Mr. Nelson on November

15, 2022. That date was one of the earliest dates available based on pre-existing scheduling

conflicts between Mr. Nelson and the parties. The parties are aware, however, that their

ability to mediate on that date is contingent on the Court’s ruling on this Motion.

       13.     Assuming the Court agrees with this Motion, the parties have discussed ways

to cooperate to limit costs before mediation to potentially increase the likelihood of

success. More specifically, the parties have discussed taking only a handful of depositions

prior to mediation that may be helpful in settlement negotiations, but reserving the bulk of

the fact witness and expert depositions until after mediation before beginning trial

preparation.

                                    III.
                         ARGUMENTS AND AUTHORITIES

       This is the parties’ first request for a continuance. Fed. R. Civ. P. 16(b)(4) provides

that a scheduling order may be modified for “good cause and with the judge’s consent.”

“The good cause standard requires the party seeking relief to show that the deadlines cannot

reasonably be met despite the diligence of the party needing the extension.” S&W

Enterprises, L.L.C. v. SouthTrust Bank of Alabama, NA, 315 F.3d 533, 535 (5th Cir. 2003).

       This case arises out of the design and construction of three different complex

construction projects associated with four different contracts and there are claims on both

sides that implicate significant potential damages. Early in the dispute the parties

informally exchanged documents and have continued to do so as the litigation has

progressed including through formal discovery requests. In light of the complexity of the


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claims and issues presented, the parties have produced more than a million pages of

documents, which the parties are still actively in the process of reviewing. The production

of documents is still ongoing. For instance, the parties are waiting on productions relating

to third-party subpoenas, some of which is likely to include technical information important

to the analysis being performed by experts in this case. In addition, five new parties have

been recently added to this litigation, some of whom are represented by new counsel. These

new parties have filed motions to dismiss that are still pending. The Court’s ruling on those

motions will likely impact the scope of discovery and the issues that may need to be

explored in depositions or otherwise. The parties need a continuance so they can have

additional time to complete the production and review of documents critical to the claims

at issue in the case, amend expert reports or potentially engage additional experts based on

new facts discovered, and evaluate the impact of the five additional parties once the

motions to dismiss have been ruled upon.

       A.     The parties’ currently scheduled November mediation warrants a
              continuance.

       In an effort to try to resolve their dispute, the parties have agreed to mediate and

have scheduled a mediation on November 15, 2022, which was one of the earliest dates

available based on pre-existing scheduling conflicts. Obviously, subject to the Court’s

agreement that a continuance is warranted, this scheduled mediation conflicts with the

current October 2022 docket call. To prepare for mediation, the parties have discussed

taking a handful of depositions of fact witnesses that may help advance discussions at

mediation, but waiting to take the depositions of many additional fact witnesses and expert


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witnesses until after mediation to help moderate cost. While it is unlikely the parties will

take the deposition of every person identified in the parties’ initial disclosures as persons

potentially having discoverable information in the parties’ initial disclosures—TXIT alone

identified more than fifty such potential witnesses—a substantial number of fact witness

depositions will be needed based on the breadth of the claims spanning three different

construction projects. In light of the current state of discovery, joinder of additional parties,

pre-existing conflicts, and the technical complexity of the issues presented, many of which

are dependent on documents that have either recently or are yet to be produced, the vast

majority of the fact witness depositions will likely not be able to occur for several months.

In addition to taking the depositions of numerous fact witnesses, the parties will also need

complete expert discovery. So far, the parties have already identified seven testifying

expert witnesses and it is anticipated the parties will identify additional rebuttal experts in

light of the opinions that have been offered to date, which may be influenced by the

documents that have yet to be produced.

       B.     The uncertain scope of claims, status of discovery, and complexity of the
              case warrants a six month continuance.

       Based on the discussion above, WFIC, Polaris, Polaris Construction, Obluda, and

Nodier move the Court to continue the docket call to May 2023. Given the technical nature

of the claims and the issues raised in litigating a dispute associated with three different

construction projects, the May 2023 date is likely still aggressive. As set forth at the

beginning of this Motion, TXIT, DRL, and Luetchford have indicated they agree a

continuance is necessary, but would like to have a trial in January or February 2023 thereby


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limiting the continuance to about two months. Setting aside the parties’ discussions about

moderating costs before mediation by reserving several depositions for after mediation,

which would not be possible with this short of a continuance, and the impact of the holidays

on the parties, witnesses, and court staff, the parties have not yet completed their document

productions and have not yet taken any depositions. In light of the currently pending

motions to dismiss and additional documents that need to be produced, it is unlikely that

depositions will be able to begin in earnest until at least September 2022, particularly when

taking pre-existing scheduling conflicts into consideration. In addition, it is unrealistic to

expect the parties will be able to complete all necessary discovery, depositions, dispositive

motions, and mediation preparation required to meet a schedule that would allow a trial in

January or February 2023 since the parties have been engaged in active discovery since the

Docket Control Order was set in September 2021, but are still in the process of completing

the production and review of documents. The request for a continuance of the docket call

to May 2023 is not sought for the purposes of delay, but instead in the interest of justice to

allow the parties sufficient time to engage in alternative dispute resolution, finish

discovery, file dispositive motions, provide the Court time to rule on dispositive motions,

and prepare for trial. While additional time may ultimately be needed after May 2023 given

the complexity of this litigation, setting a docket call in May 2023 hopefully prevents the

need to return to the Court and ask for an additional continuance in the coming months.

       WHEREFORE, WFIC, Polaris, Polaris Construction, Obluda, and Nodier request

that the Court continue the current docket call date until May 2023 and reset the interim



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deadlines accordingly in line with the parties’ agreement to mediate on November 15,

2022.


                                           Respectfully submitted,

                                           /s/ Phillip W. Pemberton
                                           CHRISTOPHER R. WARD
                                           State Bar No. 24008233
                                           Southern District Bar No. 23186
                                           cward@clarkhill.com
                                           PHILLIP W. PEMBERTON
                                           State Bar No. 24107892
                                           Southern District Bar No. 3340010
                                           ppemberton@clarkhill.com
                                           LAURA SHERRY
                                           State Bar No. 24056203
                                           Southern District Bar No. 1138420
                                           CLARK HILL PLC
                                           2600 Dallas Parkway, Suite 600
                                           Frisco, TX 75034
                                           Telephone: (214) 651-4718
                                           Facsimile: (214) 659-4108

                                           Attorneys for Westchester Fire Insurance
                                           Company




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                                           /s/ Tony Guerino
                                           ______________________________________
                                           TONY GUERINO
                                           Texas State Bar No. 00792552
                                           Tony.guerino@pillsbury law.com
                                           ELIZABETH E. KLINGENSMITH
                                           Texas State Bar No. 24046496
                                           Liz.klingensmith@pillsburylaw.com
                                           JONATHAN T. SINK
                                           Texas State Bar No. 24099968
                                           Jonathan.sink@pillsburylaw.com
                                           R. YONA STAROSTA
                                           Texas State Bar No. 24120668
                                           yona@starosta@pillsburylaw.com
                                           PILLSBURY WINTHROP SHAW PITTMAN
                                           LLP
                                           909 Fannin, Suite 200
                                           Houston, TX 77010
                                           Telephone: (713) 276-7600
                                           Facsimile: (713) 276-7673

                                           Attorneys for Polaris Engineering, Inc., Polaris
                                           Construction, Inc., Gerry Obluda, and Michael
                                           Nodier



                             CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing has been forwarded
to all counsel of record on June 22, 2022, via the Court’s CM/ECF filing system.



                                            /s/ Phillip W. Pemberton
                                           PHILLIP W. PEMBERTON




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